Case 2:22-cv-05307-MRW Document 1-3 Filed 07/29/22 Page 1 of 4 Page ID #:17




       EXHIBIT B
                     Case 2:22-cv-05307-MRW Document 1-3 Filed 07/29/22 Page 2 of 4 Page ID #:18
Electronically FILED by Superior Court of California, County of Los Angeles on 07/07/2022 04:54 PM Sherri R. Carter, Executive Officer/Clerk of Court, by A. Patrick,Deputy Clerk

                                                                                                                                                     POS-010
        ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                                         FOR COURT USE ONLY
        Julianna Garcia
        Julianna   Garcia
        1507 Arlington
        1507  Arlington Ave
                          Ave
        Los  Angeles, CA
        Los Angeles,   CA 90019
                           90019

                                  864-8801
             TELEPHONE NO.: (213) 864-8801
                            In Pro Per
             ATTORNEY FOR: In
        LOS ANGELES COUNTY SUPERIOR COURT, COUNTY OF LOS ANGELES
          STREET ADDRESS: 111 N Hill St
                            111 N Hill
          MAILING ADDRESS: 111    Hill St
                                          90012-311 7
                                Angeles, 90012-3117
         CITY AND ZIP CODE: Los Angeles,
             BRANCH NAME: Central District
                                    District
                     Julianna Garcia,
          PLAINTIFF: Julianna            individual
                              Garcia, an individual                                                                        CASE NUMBER:
        DEFENDANT:Moroccanoil,
        DEFENDANT:   Moroccanoil, Inc.
                                  Inc.                                                                                     22STLC04327
                                                                                                                           22STLC04327


                                                                                                                          Ref. No. or File No.:
                                           PROOF OF SERVICE OF SUMMONS


      1.       At the time of service II was at least 18 years of age and not a party to this action.

      2.       II served copies of:
               f. other (specifiy documents):
                Summons; Complaint;
                Summons;    Complaint; Third
                                          Third Amended
                                                Amended Standing
                                                         Standing Order;
                                                                  Order; General
                                                                          General Order;
                                                                                  Order; Notice of
                                                                                                of Availability
                                                                                                   Availability of
                                                                                                                of
                Limited Civil
                Limited    Civil Jurisdiction
                                    Jurisdiction Web
                                                 Web Portal
                                                     Portal for
                                                             for Interpreter Requests;
                                                                              Requests; Notice of Case
                                                                                        Notice of Case Assignment;
                                                                                                       Assignment;
                Important Advisory
               Important      Advisory Information
                                         Information for
                                                     for Building
                                                          Building Owners
                                                                   Owners and
                                                                           and Tenants;
                                                                               Tenants;

      3.       a.       Party served:
                        Moroccanoil,  Inc .
                        Moroccanoil, Inc

               b.       Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                        item 5b on whom substituted service was made):
                        Eric Steven
                        Eric   Steven Engel
                                        Engel/     Agent For
                                                / Agent     For Service
                                                                  Service OfOf Process
                                                                               Process

      4.       Address where the party was served:
               16311  Ventura Blvd,
               16311 Ventura    Blvd, Ste
                                        Ste 1200,
                                              1200, Encino,
                                                    Encino, CA
                                                            CA 91436
                                                               91436

      5.       II served the party
               b.     by substituted service. On 7/1/2022
                                                 7 / 1/2o22 at 2:18
                                                               2 : 18 pm I left the documents listed in item 2 with or in the presence of:
                      Sherri Spatz
                      Sherri   Spatz/    Person in
                                      / Person   in Charge
                                                      Charge

                        (1)       (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                  person to be served. I informed him or her of the general nature of the papers.

                        (4)       a declaration of mailing is attached.



      6.       The "Notice to the Person Served" (on the summons) was completed as follows:
               d. On behalf of: Moroccanoil, Inc.  Inc.
                    under the following Code of Civil Procedure section:
                         416.10 (corporation)




                                                                                                                                                                     Page 11 of
                                                                                                                                                                             of22

        Judicial Council of California
       POS-010 [Rev. January 1  1, 2001
              adop1ed by rule 982.9
         Form adopted
                                   2007)
                                                                PROOF OF SERVICE OF SUMMONS                                            Job Number AEA-2022001272
                                                                                                                                                              Exhibit B
                                                                                                                                                            Page 1 of 3
              Case 2:22-cv-05307-MRW Document 1-3 Filed 07/29/22 Page 3 of 4 Page ID #:19

                       Garcia, an individual
   PLAINTIFF: Julianna Garcia,    individual                                                    CASE NUMBER:
 DEFENDANT:Moroccanoil,
 DEFENDANT:                Inc.
              Moroccanoil, Inc.                                                                 22STLC04327


7.      Person who served papers
        a. Name: Edgar
                     Edgar Cusani
                           cusani
            Firm: AE Attorney Service
        b. Address: 7190 W  W Sunset Blvd,
                                         Blvd, #87,       Angeles, CA 90046
                                                 #87, Los Angeles,
        c.  Telephone number: (800) 220-4248
        d. The fee for the service was: $45.00
                                         $45. oo
        e. Ilam:
             am:
            (3) a registered California process server:
                 (i) independent contractor
                 (ii) Registration No.: 20212  67751
                                         2021267751
                 (Iii) County: Los
                 (iii)         Lo s Angeles

8.      I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date:
Date:      7/6/2022


                               Edgar Cusani
                 (NAME OF PERSON WHO SERVED PAPERS)
                                                                      o►                    (SIGNATURE)




                                                                                                                                Page2of2
                                                                                                                                Page 2 of 2

 Judie/al Council of California
 Judicial            Callfomle
POS-010 [Rev. January 1, 2007]
 Form adopted by rule 982.9
                           2007)
                                                      PROOF OF SERVICE OF SUMMONS                         Job Number AEA-2022001272
                                                                                                                             Exhibit B
                                                                                                                           Page 2 of 3
         Case 2:22-cv-05307-MRW Document 1-3 Filed 07/29/22 Page 4 of 4 Page ID #:20

 ATTORNEY OR PARTY WITHOUT ATTORNEY:                                                                     FOR COURT USE ONLY
 Julianna Garcia
 1507 Arlington Ave
     Angeles, CA 90019
 Los Angeles,    90019

                          864-8801
                    (213) 864-8801
     TELEPHONE NO.: (213)
     ATTORNEY FOR: In
                    In Pro Per
 LOS ANGELES COUNTY SUPERIOR COURT, COUNTY OF LOS ANGELES
   STREET ADDRESS: 111     Hill st
                     111 N Hill
   MAILING ADDRESS: 111
                     111 N Hill
                           Hill St
                                st
  CITY AND ZIP CODE: Los Angeles,  90012-3117
                         Angeles, 90012-3117
                     central District
      BRANCH NAME: Central
   PLAINTIFF: Julianna            individual
              Julianna Garcia, an individual                                                  CASE NUMBER:
 DEFENDANT:
 DEFENDANT:Moroccanoil,    Inc.
              Moroccanoil, Inc.                                                               22STLC04327
                                                                                              22STLC04327


                                                                                              Ref. No. or File No.:
                              DECLARATION OF MAILING


1.    I, Ervin Diaz, am at least 18 years of age and not a party to this action.

2.    Documenti;
      Documents mailed:

      Summons; Complaint;
      Summons; Complaint; Third Amended Standing Order;
                                                  Order; General
                                                         General Order;
                                                                 Order; Notice of Availability of
                                             for Interpreter
      Limited Civil Jurisdiction Web Portal for  Interpreter Requests;
                                                             Requests; Notice of Case Assignment;
                                                                                      Assignment;
      Important Advisory Information
      Important           Information for
                                      for Building Owners and Tenants;
                                                              Tenants;

3.    A true copy of the documents were sealed in an envelope and placed in the United States mail with First Class postage
      prepaid as follows:

      Date:                       7/6/2022
                                  7/6/2022
      Location:                       Angeles, CA
                                  Los Angeles,
      Addressed:                  Moroccanoil, Inc.,
                                  Moroccanoil,  Inc., 16311 Ventura Blvd,
                                                                    Blvd, Ste 1200,
                                                                              1200, Encino,
                                                                                    Encino, CA 91436
                                                                                               91436


4.    Person performing mailing:

      Name:                             Diaz
                                  Ervin Diaz
      Firm:                       AE Attorney Service
      Address:                    7190 W
                                  7190   sunset Blvd,
                                       W Sunset  Blvd, #87,
                                                       #87, Los Angeles,
                                                                Angeles, CA 90046
                                                                            90046
      Telephone Number:           (800) 220-4248
                                  (800) 220-4248

5.    I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.


Date:
Date:
        7/6/2022



                                                                     ►
                     Ervin Diaz
                     (PRINTED NAME)                                                        (SIGNATURE)




                                                                                                                                  Page 11 of
                                                                                                                                          of11


                                                    DECLARATION OF MAILING                                 Job Number AEA-2022001272
                                                                                                                               Exhibit B
                                                                                                                             Page 3 of 3
